            Case 2:24-cv-01745-RAJ      Document 53      Filed 01/03/25    Page 1 of 2



                                                       HONORABLE RICHARD A. JONES
1
2
3
4
5
6
7
8
9
10
                            UNITED STATES DISTRICT COURT
11                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
12
     PRASANNA SANKARANARAYANAN,
13
                          Petitioner,
14
            vs.                                       Case No. 24-cv-01745-RAJ
15
     DHIVYA SASHIDHAR,                                ORDER
16
                          Respondent.
17
18
19
20
            The Court held a telephone conference with the parties on January 3, 2025 at 2:00
21
     pm (PST). Dkt. # 49. During the telephone conference, the Court made oral rulings
22
     regarding the parties’ objections to proposed exhibits. Dkts. # 33, 36. The Court records
23
     the oral rulings below.
24
25
26
27
     ORDER – 1
28
            Case 2:24-cv-01745-RAJ       Document 53       Filed 01/03/25    Page 2 of 2




1
2          The Court rules on Petitioner’s objections to Respondent’s Proposed Exhibits as
3    follows:
                • Overruled: Exs. 301, 302, 303, 305, 307, 309, 310, 315, 317, 319, 321, 322,
4
                  323, 326
5               • Sustained: Exs. 312, 313, 318, 324, 327, 328
6               • Reserves Ruling: Exs. 340, 341, 342, 343, 344
7          The Court rules on Respondent’s objections to Petitioner’s Proposed Exhibits as
8    follows:
9               • Overruled: Exs. 77, 82, 85, 93, 94
10              • Sustained: Exs. 46, 95, 96, 107, 108, 113, 114, 115, 116
11              • Withdrawn: Exs. 83, 89
12
13         IT IS SO ORDERED.
14
15
16         Dated this 3rd day of January, 2025.
17
18                                                     A
19                                                     The Honorable Richard A. Jones
                                                       United States District Judge
20
21
22
23
24
25
26
27
     ORDER – 2
28
